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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6     MICHELLE CHARMAINE LAWSON,                        CASE NO. 18-cv-07238-YGR
                                   7                    Plaintiff,
                                                                                           ORDER TO SHOW CAUSE RE: FAILURE TO
                                   8              vs.                                      SERVE PURSUANT TO FED. R. CIV. PROC.
                                                                                           4(M)
                                   9     CITY OF ARCATA, ET AL.,
                                  10                    Defendants.

                                  11

                                  12          TO PLAINTIFF MICHELLE CHARMAINE LAWSON AND HER COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          You Are Hereby Ordered to Show Cause why you should not be sanctioned in the

                                  14   amount of $200 failure to serve the complaint in the above-referenced action within 90 (ninety)

                                  15   days of filing pursuant to Federal Rule of Civil Procedure 4(m). A hearing on this Order to Show

                                  16   Cause will be held on Friday, March 22, 2019, on the Court’s 9:01 a.m. Calendar, in Courtroom
                                       1 of the Federal Courthouse at 1301 Clay Street in Oakland, California.
                                  17
                                              By no later than Friday, March 15, 2019, plaintiff must file either (1) proof of service(s);
                                  18
                                       or (2) a written response to this Order to Show Cause why she should not be sanctioned for their
                                  19
                                       failure to comply with the stated rule.
                                  20
                                              The Court hereby CONTINUES the Case Management Conference scheduled for Monday,
                                  21
                                       March 11, 2019 to Monday, April 22, 2019.1
                                  22
                                              IT IS SO ORDERED.
                                  23

                                  24
                                       Dated: March 6, 2019
                                  25                                                           YVONNE GONZALEZ ROGERS
                                                                                          UNITED STATES DISTRICT COURT JUDGE
                                  26

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                                                 The Court also notes that plaintiff has failed to file a case management conference
                                  28   statement due on March 4, 2019 and could be sanctioned on that basis as well. Counsel is warned
                                       to heed the Court’s local rules.
